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                   EXHIBIT C
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All the red Bins
The tooling to right to the picture
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                                                                    Raw
                                                                    Tubing
                                                                    to make
                                                                    these
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Misc Screws and tools
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Special custom insulation
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Alum Dies
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3d printer wire
